       Case 1:07-cr-00315-AWI Document 58 Filed 11/21/08 Page 1 of 3


 1    TOM STANLEY
     315 W. 9th Street
 2   Suite 906
     Los Angeles, CA 90015
 3   SBN 45990
     (818) 986-1506
 4
     Attorney for Defendant
 5   OSBALDO SARABIA
 6
 7
 8
                                   UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA                       )      CASE NO. CR 07-315 OWW
                                                    )
13                                                  )       STIPULATION AND
                             Plaintiff,             )       ORDER CONTINUING HEARING
14                                                  )       AND EXCLUDING TIME
                    v.                              )
15                                                  )
                                                    )
16                                                  )
     CARLOS SARABIA,                                )
17   TINA PEREZ, et al                              )
                                                    )
18                                                  )
                          Defendants.              )
19                                                 )
20
            Defendant, Carlos Sarabia, by and through his counsel, Tom Stanley, defendant, Tina Perez,
21
     by and through her counsel, Joan Jacobs Levie and Plaintiff, United States of America, by its
22
     counsel, Assistant United States Attorney Kevin P. Rooney, stipulate and agree that the proposed
23
     Change of Plea hearing set for November 24, 2008, at 9:00 a.m. be continued to December 15,
24
     2008, at 9:00 a.m.
25
            The parties further stipulate that the time that the time period up to an including the hearing
26
     date of December 15, 2008, should be excluded from the computation of time for commencement
27
     of trial under the Speedy Trial Act based upon the parties need to continue settlement discussions
28
     and negotiations. This process has taken more time than the parties originally anticipated. For
       Case 1:07-cr-00315-AWI Document 58 Filed 11/21/08 Page 2 of 3


 1   this reason, the defendants, defense counsel, and the government agree additional time is required
 2   for the defense and government to try and resolve this case in the interests of justice under 18
 3   U.S.C. § 3161 (h) (8) (B) (iv).
 4   Dated: November 20, 2008.
 5                                                 Respectfully submitted,
 6
 7                                                 /s/Tom Stanley
                                                   TOM STANLEY
 8                                                 Attorney for Defendant
                                                   CARLOS SARABIA
 9
10   Dated: November 20, 2008.                    /s/Tom Stanley                           ___
                                                  Authorized to sign for JOAN JACOBS LEVIE
11                                                Attorney for Defendant, TINA PEREZ on 11/20/08
12
13
14   Dated: November 20, 2008.                    /s/Tom Stanley
                                                  Authorized to sign for KEVIN P. ROONEY
15                                                Assistant United States Attorney on 11/20/08
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   -2-
       Case 1:07-cr-00315-AWI Document 58 Filed 11/21/08 Page 3 of 3


 1                                        ORDER
 2           Based upon the representations and stipulation of counsel, IT IS HEREBY ORDERED that:
 3           1. Based upon the representations and stipulation of counsel, the Court continues the
 4   Change of Plea hearing from November 24, 2008, at 9:00 a.m. until December 15, 2008, at 9:00
 5   a.m.
 6          2. Based upon the representations and stipulation of the parties, the Court finds that the time
 7   exclusion under 18 U.S.C. § 3161 (h) (8) (B) (iv) applies and the ends of justice outweigh the best
 8   interest of the public and the defendant in a speedy trial. Accordingly, time under the Speedy Trial
 9   Act shall be excluded up to and including December 15, 2008, at 9:00 a.m.
10
11
12   IT IS SO ORDERED.
13   Dated: November 21, 2008                           /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                      -3-
